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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             LAREDO DIVISION



UNITED STATES OF AMERICA
                                      Plaintiff

v.                                                Case No.: 5:13−po−10859
                                                  Magistrate Judge Guillermo R. Garcia

Javier Olvera−Ramirez
                                      Defendant



                                      JUDGMENT


       On 8/6/13, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. § 1325(a)(1), as charged in the Criminal
Complaint; and the Court having asked the defendant whether he/she had anything to say
why judgment should not be pronounced, and no sufficient cause to the contrary being
shown or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to 20 days confinement, with a special condition not to
return to the U.S. illegally or commit any other violation of federal and/or state laws.

A $10.00 special assessment is hereby imposed.
DONE at Laredo, Texas, on 8/6/13.
